Filed 08/01/19                                                             Case 19-22703                                        Doc 29

     FORM L161 Order approving Final Report and Account and Discharging Trustee (v.09.14)                       19−22703 − E − 13C

                    UNITED STATES BANKRUPTCY COURT
                         Eastern District of California
                               Robert T Matsui United States Courthouse
                                       501 I Street, Suite 3−200
                                        Sacramento, CA 95814

                                                  (916) 930−4400
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                 ORDER APPROVING FINAL REPORT AND ACCOUNT AND DISCHARGING TRUSTEE

     Case Number:             19−22703 − E − 13C
     Debtor Name(s) and Address(es):


        Amy Greenhalgh
        3335 J St #1
        Sacramento, CA 95816



        The Chapter 13 Trustee has filed a final report and account with the Court and the Office of the
        United States Trustee, and certified that the estate of the above−named debtor(s) has been fully
        administered. No objection has been timely filed with the Clerk by the United States Trustee or a
        party−in−interest, and no hearing concerning the matter has been set. Therefore, pursuant to Federal
        Rule of Bankruptcy Procedure 5009, there is a presumption that the estate of the above−named
        debtor(s) has been fully administered.

        IT IS ORDERED that the final report and account is approved.

        IT IS FURTHER ORDERED that the Chapter 13 Trustee is hereby discharged and relieved of his
        trust, that his bond is hereby exonerated, and that the surety or sureties thereon are hereby released
        from further liability thereunder except any liability which may have accrued during the time such
        bond was in effect.



     Dated:                                                                         FOR THE COURT
     8/1/19
                                                                                    Wayne Blackwelder , CLERK
